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                                                                              www.flsb.uscourts.gov
                                                       CHAPTER 13 PLAN (Individual Adjustment of Debts)
                              □                                               Original Plan

                              □                                               Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                              g FIRST                                         Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)
                                                                  JOINT DEBTOR:                                           CASE NO.: 23-10845-LMI
    DEBTOR: Gerardo Melgar
    SS#: xxx-xx- 0961                                              SS#: xxx-xx-

    I.           NOTICES

                 To Debtors:            Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans ai
                                        modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Loc
                                        Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filii
                                        the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:          Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim m:
                                        be reduced, modified or eliminated.
                 To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one b»
                                      on each line listed below in this section to state whether the plan includes any of the following:

         The valuation of a secured claim, set out in Section III, which may result in a                                         Included        r~|   Not included
         partial payment or no payment at all to the secured creditor
         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                           [[] Included          0 Not included
         out in Section III

         Nonstandard provisions, set out in Section IX                                                                     0 Included            r~1   Not included
    II.         PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEY'S FEE

                A.       MONTHLY PLAN PAYMENT: This Plan pays for tlie benefit of the creditors the amounts listed below, including trustee
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unus>
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        I.    $836.40                for months     1    to    11      ;

                        2.    $1,346.68              for months     12   to 60         ;

                B.      DEBTORfSV ATTORNEY'S FEE:                                                 □ NONE   □ PRO BONO
             Total Fees:                $8,550.00           Total Paid:                    $2,000.00        Balance Due:             $6,550.00

             Payable              $547.73           /month (Months       1     to 11 )
             Payable              $525.00           /month (Months 1^ to 12 )
             Allowed fees under LR 2016-1(B)(2) are itemized below:
             Safe Harbor $4,500.00 Attorney's Fees + 150.00 Costs + $2500 MMM + $100 costs + $775 Motion to value + $525 Motion to Modify
             = $8,550
             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.        TREATMENT OF SECURED CLAIMS □ NONE
                A. SECURED CLAIMS; □ NONE
                [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Li en on Real or Personal Properly:
              1. Creditor: Land Home Financial Services [POC#6]
                  Address: Land Home Financial                      Arrearage/ Payoff on Petition Date     80,892.79
                              Services                                                                                                                      to 11   )
                                                                    MMM Adequate Protection                            $224.91      /month (Months     [
                              PO BOX 25164
                              Santa Ana, CA 92799                   MMM Adequate Protection                            $469.92      /month (Months     12   to 60 )

              Last 4 Digits of
              Account No.:                   0063



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        Other:


        □ Real Property                                                                 Check one below for Real Property:
             [i]Principal Residence                                                     [■jEscrow is included in the regular payments
                 □other Real Property                                                   □The debtor(s) will pay      Qtaxes      □insurance directly
         Address of Collateral:
         1981 NW 37 Avenue, Miami, FL 33125


        □ Personal PropertyA^ehicle
         Description of Collateral:
            B. VALUATION OF COLLATERAL:                          □ NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.

                    I. REAL PROPERTY: □ NONE
          1. Creditor: 'The City of Miami Code                  Value of Collateral:             $350,000.00                        Payment
                              Enforcement
                                                                Amount of Creditor's Lien:        $2,000.00       Total paid in plan:          $0.00
              Address: ^^4 SW 2nd Ave, 7th FL
                              Miami, Florida 33130
                                                                Interest Rate:       0.00%                             $0.00     /month (Months        to     )
         Last 4 Digits of Account No.:            8179

                                                                Check one below:
         Real Property                                      I    I Escrow is included in the monthly
         [■jPrincipal Residence                                    mortgage payment listed in this section
         □other Real Property                               □ The debtor(s) will pay
         Address of Collateral:                                             □taxes      □insurance directly
          1981 NW 37 Avenue, Miami, FL 33125


                   2. VEHICLES(S): [1 NONE
                   3.        PERSONAL PROPERTY:                 NONE

            C. LIEN AVOIDANCE U NONE
            D. SURRENDER OF COLLATERAL:                            g] NONE
            E. DIRECT PAYMENTS                    □ NONE
            Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                   confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                   codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Name of Creditor              Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)
                             Specialized Loan Servicing,   1755                                1981 NW 37 Avenue, Miami, FL 33125
                        1.
                             LLC
                             Td Auto Finance               8459                                2016 Mazda CX-5
                        2.

rv.         TREATMENT OF FEES AND PRIORITY CLAIMS las defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                    [■] NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                           □ NONE
               A. Pay               $0.00        /month (Months        1      to 11 )

                    Pay            $217.09       /month (Months       12      to 12 )
                    Pay            $742.09       /month (Months        13     to 60 )
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                    Pro raia dividend will be calculated by the Trustee upon review of filed claims after bar date.

              B. □ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
              C. SEPARATELY CLASSIFIED:                 @ NONE
VI.        STlinF.NT LOAN PROGRAM                 \m\ NONE
VII.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                    [f] NONE
VIII.       INCOME TAX RETURNS AND REFUNDS:

                  g] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                     annual basis during the pendency of this case, The deblor(s) hereby acknowledges that the deadline for providing the
                     Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                     provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                     increases by more than 3% over the previous year’s income. [Miami cases]
IX.         NON-STANDARI) PLAN PROVISIONS □ NONE
           [m] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
               Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                 Confirmation of the plan shall not bar Debtor’s counsel from filing an Application for Compensation for any work performed
                 before confirmation.
           [■] Mortgage Modification Mediation




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                   1   The debtor has filed a Verified Motion for Referral to MMM with:

                   Axiom Financial Services, LLC                                                                                       ("Lender")
                   loan number Case No: 2022-079736-CA-0I /

                   for real property located at 1981 NW 37 Avenue, Miami, FL 33125

                   The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local
                   Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
                   modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post
                   petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
                   contractual mortgage payment or 31 % of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees
                   due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
                   such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
                   by the trustee and not upon receipt by the lender.

                   Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
                   proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage airearage
                   stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation
                   of the plan or modified plan.

                   If the debtor, co-obligor/co-borrowcr or other third party (if applicable) and the lender agree to a settlement as a result of the
                   pending MMM, the debtor will file the MMM Local Fomi ‘*Ex Parte Motion to Approve Mortgage Modification Agreement
                   with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than
                   14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately amend or
                   modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable.

                   If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
                   days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
                   the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
                   necessary to complete the settlement.

                   In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
                   disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.


                   If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
                   filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
                   Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value: or (b) provide that the real
                   property will be “treated outside the plan,” If the property is “treated outside the plan,” the lender will be entitled to in rem stay
                   relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
                   confirm that the automatic stay is not in effect as to the real property.

                   Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
                   of Claim.




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                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

  I declare that the foregomg chapter 13 plan is true and correct under penalty of perjuiy.
         f\
/sA                                        Debtor                                                        Joint Debtor
                                                         Date                                                                   Date
 Gerardo Melgar



 /s/ Jose A. Blanco, Esq.
                                                       Date
   Attorney with permission to sign on
    Debtor(s)' behalf who certifies that
    the contents of the plan have been
       reviewed and approved by the
                    Debtor(s).'

  By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
  order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
  contains no nonstandard provisions other than those set out in paragraph IX.




*This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)’ attorney authorizing the
attorney to sign documents on the Deblor(s)' behalf




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